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                           UNITED STATES DISTRICT COURT                      .!liN 1 :1 71Jl3
                          EASTERN DISTRICT OF TENNESSEE             Clerk, U. S. District Court
                                                                   Eastern District of Tennesse~
                               AT WINCHESTER, TN.                        At Chattanoora



       LAWRENCE C. BURRHUS II

       42 MAPLE LANE

       PELHAM, TENNESSEE 37366

       931-636-6812



       v.                                      CASE#    t/: 1J - cv- $7
                                                        ,4A.fl-ict. I L-ee


       HOMEWARD RESIDENTIAL INC. FORMERLY KNOWN AS

       AMERICAN HOME MORTGAGE SERVICING INC.

       1525 S. BELTLINE ROAD

       COPPELL, TEXAS 75019-4913


       QBE INSURANCE CORPORATION

       88 PINE STREET 16TH FLOOR

       NEW YORK,NEW YORK 10005


       CT CORPORATION SYSTEM

        1515 MARKET STREET SUITE 1210

       PHILADELPHIA,PENNSYLVANIA 19102



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  Pelham, TN 37366
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            G. MOSS AND ASSOCIATES. L.L.P.

            6560 GREENWOOD PLAZA BLVD. SUITE 100

            ENGLEWOOD. COLORADO 80111-7100



                                                COMPLAINT



            Homeward Residential Inc. formerly known as American Home mortgage Servicing Inc.

            attempted to place flood insurance on our home far in excess of the loan balance. They

            also attempted to back date said poicy to September 25, 2009 when the required premium

            was not paid until May 24,2010. They also attempted to force place an escrow account

            for the flood insurance only. They also continually harrassed and threatened both myself

            and my wife to such a point that my wife suffered a stroke from the mental anguish that she

            was enduring. And I was fired from my job which I had been performing successfully in

            excess of 5 years. This resulted in extreme hardship because of the loss of income and

            loss of opportunity.



            QBE Insurance Corporation and it's employees caused an insurance binder to be placed

            far in excess of the balance of the loan. And they back dated said binder to September 25,

            2009 when they did not receive the premium on the policy until May 24,2010.



            CT Corporation System and it's employees are the parent company of QBE Insurance

            Corporation.
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    G. Moss and Associates L.L.P. And it's employees issued many threats to foreclose on

    our property. They did this in spite of the fact that the principle and interest was paid

    faithfully every month. This caused my wife great mental anguish and caused me extreme

    anger. The reason for my anger was that this professional law corporation did not have

    anyone capable of researching the law to check the legality of their actions.



    Therefore with all of these actions Homeward Residential formerly known as American

    Home Mortgage Servicing Inc. and it's employees directly violated THE NATIONAL

    FLOOD INSURANCE ACT OF 1968 specifically 42 USC 4012a, 42 USC 4012d and

    2 USC 4013c 1&2 A&B. They also violated THE FLOOD DISASTER PROTECTION

    ACT OF 1973 specifically 42 USC 4012a, 42 USC 4012d, and 42 USC 4013c 1&2 A&B.

    They also violated THE RIEGLE COMMUNITY DEVELOPMENT AND REGULATORY

    IMPROVEMENT ACT OF 1994 specifically Section 522(1), 523,and 579. And THE

    FLOOD INSURANCE REFORM ACT OF 2004 specifically Section 552c 1&2.

    And last but certainly not least the codes forbidding harrassment, intimidation, and

    threatening, loss of income, and loss of oportunity, mental anguish and I have no idea what

    codes those are.


    QBE Insurance Corporation violated many of the same codes.


    And G. Moss and Associates as officers of the court failed to uphold the laws that they were

    sworn to uphold. They merely did what their client told them to do and did not research the

    legality of what they were told to do.

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    I am and was a citizen in good standing and my wife was a citizen in good standing of

    the State ofTennessee and the County of Grundy. The home is located in Grundy County

    within the State of Tennessee. Homeward Residential formerly known as American Home

    Mortgage Servicing Inc. and it's employees are not residents of the State of Tennessee,

    therefore this court has jurisdiction over this case.



    Plaintiff, Lawrence C. Burrhus II resides at 42 Maple Lane, Pelham, Grundy County,

    Tennessee 37366, Phone#      931~636~6812.


    Defendant, Homeward Residential Inc. formerly known as American Home Mortgage

    Servicing Inc. operates a business at 1525 S. Beltline Road, Coppell, Dallas County,

    Texas,75019~4913


    Defendant, QBE Insurance Corporation operates a business at 88 Pine Street 16th Floor

    New York, Manhattan, New York 10005.

    Defendant, CT Corporation System operates a business at 1515 Market Street, Philadelphia,

    Philadelphia County, Pennsylvania, 191 02

    Defendant, G. Moss and Associates, L.L.P., operates a business at 6560 Greenwood

    Plaza Blvd. Suite 100, Englewood, Arapahoe County, Colorado, 80111 ~ 7100.



    I am asking this court for relief in the form of lost wages, loss of opportunity, medical

    expenses pertaining to the stroke that my wife suffered, mental anguish, and punitive

    damages.


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          I am asking for an amount that will cause these companies to think long and hard before

          they attempt these illegal activities again. And I believe that this court should recommend

          to the U.S. Attorney that an investigation be opened into these actions. I believe that if they

          attempted this with me that they probably did it to others as well.



          I hereby certify under penalty of perjury that the above complaint is true to the best of my

          information,know1edge and belief.

          Signed this _ _.J_u_N_F-_..--_ __day of_/3--'-~=----___:_-_ _,2013




                                                        Lawrence C. Burrhus II

                                                        42 Maple Lane

                                                        Pelham,Tennessee 37366

                                                        931-636-6812




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